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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                       District
                                                 __________     of Columbia
                                                             District of __________


                Comm. on Ways and Means                          )
                             Plaintiff                           )
                                v.                               )      Case No.    1:19-cv-1974-TNM
                U.S. Dep't of Treasury, et al.                   )
                            Defendant                            )

                                                  APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Intervenor-Defendants Donald J. Trump, et al.                                                                .


Date:          01/19/2021                                                              /s/ Patrick Strawbridge
                                                                                          Attorney’s signature


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